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                                           April 7, 2017

Via ECF

The Honorable Sarah Netburn
Thurgood Marshall United States Courthouse
40 Foley Square, Room 430
New York, NY 10007

       Re:     In re Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)
               (All Actions)

Dear Judge Netburn:

        The Kingdom of Saudi Arabia (“Saudi Arabia”) writes to request that the Court reaffirm
Judge Casey’s order of May 25, 2004, directing counsel in this MDL not to try their cases in the
press. Reaffirmation of the order is warranted by at least two recent instances in which counsel
for the Ashton plaintiffs have engaged in the conduct against which Judge Casey warned. An
excerpt of the transcript in which Judge Casey issued his directive to counsel is attached as
Exhibit A for the convenience of the Court.

        Judge Casey issued his order on the record after it was called to his attention that counsel
for another plaintiff had attempted to obtain favorable press coverage to support their clients’
claims in this case. He explained that he “t[ook] a very dim view of lawyers who try their cases
in the media” and continued:

       I expect everyone, and I have read all the papers, plaintiffs and defendants, any
       activity in this area I expect to stop as of this moment. If there is any further
       activity, I will entertain any application. Be the professionals that you are. Don’t
       sully your profession before this court.

Ex. A, at 31:14-18; see also id. at 31:21-23 (“If you choose to go in a different direction after this
caution, I assure you I will deal with it.”); id. at 31:25-32:3 (“[U]nless somebody cannot
comprehend my very simple words, that is the end of the subject unless cause requires us to
revisit the subject, and I hope that will never occur.”). No one requested clarification of Judge
Casey’s warning, including counsel for the Ashton plaintiffs, who were present. See id. at 2.
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       On March 20, 2017, USA Today published an article about the most recent Ashton
complaint that reflects numerous statements made by James Kreindler, lead counsel for the
Ashton plaintiffs, and his firm.1 In it, Mr. Kreindler is quoted as saying of the charity
defendants: “the whole world knows they were dirty[.]” One of Mr. Kreindler’s law partners is
quoted as saying: “We just hope President Trump continues” backing the Ashton plaintiffs’ case.
“I would like to hear some continued expressions of support by the president.”

         Earlier today, Politico Magazine published an article by Caleb Hannan, titled One Man’s
Quest to Prove Saudi Arabia Bankrolled 9/11.2 The thesis of the roughly 5,000-word article is
that “[p]roving the link between Saudi Arabia and the hijackers has been Kreindler’s nearly sole
focus since the moment, several days after the Twin Towers fell, when grieving families began
to file into the lobby of [his] firm.” It features a publicity photograph of Mr. Kreindler, and is
structured around his personal history with the case. It also contains an extensive discussion of
allegations in the recent Ashton complaint. It is hard to imagine a clearer example of counsel, as
Judge Casey put it, “try[ing] their case[ ] in the media.”

        We recognize that considerable time has passed since Judge Casey’s order. But Saudi
Arabia requests, at a minimum, that the Court reaffirm the order and give clear notice that it will
issue appropriate sanctions for violations of that order.

                                                   Respectfully submitted,

                                                   /s/ Michael K. Kellogg

                                                   Michael K. Kellogg

cc:     Chambers of the Honorable George B. Daniels (via facsimile)
        All MDL Counsel of Record (via ECF)

Enclosure




1
  https://www.usatoday.com/story/news/2017/03/20/families-911-victims-file-lawsuit-blaming-saudi-
arabia/99421816/.
2
  http://www.politico.com/magazine/story/2017/04/saudi-arabia-911-lawyer-214996.
